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      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE



       MARTHILDE BRZYCKI,                            JUDGMENT IN A CIVIL CASE

                            Plaintiff,               CASE NO. C18-1582 CKJ

              v.

       UNIVERSITY OF WASHINGTON,

                            Defendant.




       Jury Verdict. This action came before the court for a trial by jury. The issues
       have been tried and the jury has rendered its verdict.

X      Decision by Court. This action came to consideration before the court. The issues
       have been considered and a decision has been rendered.

    IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Order issued
    February 18, 2021, judgment is entered in Defendant’s favor on the disparate treatment
    and retaliation claims filed under state and federal law and in Plaintiff’s favor on the
    reasonable accommodation claim filed under the Washington Law Against
    Discrimination (WLAD). Plaintiff is awarded $20,000 in damages, and the action is
    terminated.

       Dated February 19, 2021.



                                            William M. McCool
                                            Clerk of Court

                                            s/ Paula McNabb
                                            Deputy Clerk
